' Case 1»7-44189-e|m7 Doc 39 Filed 12/01/17 Entered 12/01/17 09:08:12 Page 1 of 45

Fi|l in this information to identify the case

Debtor name Newberry Bakers, l`nc.

United States Bankru`ptcy Court for the: NCRTHERN DlSTR|CT OF TEXAS

Case number 17-441 89-rfn11 ' ` E'|/ Check if this is an

`f k
(i nown) amended filing

 

 

Official Form 206A/B v
Schedule AlB: Assets -- Rea| and Persona| Property ` 12/1'5

 

Disc|ose all property, real and persona|, which the debtor owns or in which the debtor has any other lega|, equitab|e, or future
interest. include all property in which the debtor holds rightsand powers exercisable for the debtor's `own benefit. A|so
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
|n Schedu|e AlB, list any executory contracts or unexpired |eases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Officia| Form 2066).

Be as complete and accurate as possib|e. lf more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). A|so identify the form and line number to which the
additional information applies. lf an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part. '

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as al
fixed asset schedule or depreciation schedu|e, that gives the details for each asset in a particular category. List each asset
only once. |n valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form. '

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

|z[ No. Go to Part 2.
|:] Yes. Fill in the information below.

Al| cash or cash equivalents owned or controlled by the debtor ' C'urrent value of
debtor's interest

2. Cash on hand

3. Checking, savings, money market, or financial brokerage accounts (/dentify all)

Name of institution (bank or brokerage firm) Type of account Last 4 digits of
l account number

4. Other cash equivalents (/dent/'fy a//)

Name of institution (bank or brokerage firm)

 

5. Total of Part'1
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

m Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

$0.00`

 

 

 

|Z[ No. Go to Part 3.
|:| Yes. Fi|l in theinformation below.

Official Form 206A/B Schedu|e A/B: Assets -- Rea| and Personal Property l page 1

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Debtor ` Newberry Bakers, |nc.

Name

Case’ number (if known) ` 17-44189-rfn,11

7. Deposits, including security deposits and utility deposits

, Description, including name of holder of deposit

8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Description, including name of holder of prepayment

9. Total of Part 2.

Add lines 7 through 8. Copy the total to line 81.

Accounts receivable

10. Does the debtor have any accounts receivable?

M No. Go to Part4.

m Yes. Fill in the information be|oW.

11. Accounts receivable

11a. 90 days old or |ess:

face amount

11b. Over 90 days old:

$0.00
doubtful or uncollectible accounts

$o.oov

 

face amount

12. Total of Part 3

doubtful or uncollectible accounts

Current value on lines 11a +11b = line 12. Copy the total to line 82.

investments

13. Does the debtor own any investments?

M'~No. Go to Part 5.

L__| Yes. Fill in the information below.

Valuation method
used for current value

14. Mutua| funds or publicly traded stocks not included in Part1,

Name of fund or stock:

15. Non-publicly traded stock and interests in incorporated and unincorporated
businesses, including any interest in an LLC, partnership, orjoint venture

Name of entity:

% of ownership:

16. Government bonds, corporate bonds, and other negotiable and

non-negotiable instruments not included in Part 1

Describe:
17. Total of Part 4 4

Add lines 14 through 16. Copy the total to line 83.

|nventory, excluding agriculture assets

18. Does the debtor own any inventory (exc|uding agriculture assets)?

|:| No. Go to Part 6.

|z[ Yes. Fill in the information below.

official Form 206A/B

Schedu|e AlB: Assets -- Real and Personal Property

Current value of
debtor's interest

 

 

$0.00

 

 

Current value of
debtor's interest

$0.00

$0.00

 

 

$0.00

 

 

Current value of
debtor's interest

 

 

$o.oo

 

page 2

 

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Debtor Newberry Bakers, inc. Case number (if known) 17-44189-rfn11

19.

.20.
21.

22.

23.

24.

25.

26.

 

Name

Generai description » . Date of the Net book value of Vaiuation method Current value of
last physical debtor's interest used for current value debtor's interest
~ inventory (Where available) `
Raw materials iViiVl/DD/YYYY

ingredients - see attached
Scheduie A/B 19 11l1 5/2017 $1 24,332.94' Book $124,332.94 .

 

Work in progress

Finished goods, including goods held for resale

Finished Goods - see attached

Scheduie A/B 21

Finished Goods listed as $0.00

because ali Finished Goods were

lost in August 2017 when

Hurricane Harvey knocked out the

power to the freezers holding the

Finished Goods. The values are

listed at what they would have

been worth to the Debtor had they

not been iost. There was no

insurance coverage in place at v
the time of the ioss. ' 11/15/2017 $0.00 Book ' $0.00

 

Other inventory or supplies

Packaging - see attached b
Scheduie AlB 22 1 1/1 5/2017 $100,112.86 Book ' $1 00,112-.86

 

 

Total of Part 5

Add lines 19 through 22. copy the total to line 84. $224'445~8°

 

 

 

is any of the property listed in Part 5 perishabie?

|Z[ No `

m Yes

Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

MNo

|:| Yes. Book value Valuation method ' Current value

 

Has any of the property listed in Part 5 been appraised by a professional within the last year?

M No
m Yes

m Farming and fishing-related assets (other than titled motor vehicles and iand)

27.

28.
29.
30.

Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and iand)?
M No. Go to Part 7.
m Yes. Fill in the information below.

Genera| description Net book value of Vaiuation method Current value of
. debtor's interest used for current value debtor's interest

. (Where available)
Crops--either planted or harvested

Farm animals Examples.' Livestock, poultry, farm-raised fish

Farm machinery and equipment (Other than titled motor vehicles)

Official Form 206A/B Scheduie AlB: Assets -- Rea| and Personal Property page 3

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v Debtor Newberry Bakers, InC. Case number (if known) 17-44189-rfn11

Name

31. Farm and fishing supplies, chemicais, and feed

32. Other farming and fishing-related property not already listed in Part 6

 

 

 

 

 

 

33. Total of Part 6.

Add lines 28 through 32. copy the total to line 85. $°'°°
34. is the debtor a member of an agricultural cooperative?

M No

|:| Yes. is any of the debtor's property stored at the cooperative?

|:| No
m Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

M No y

ij Yes. Book value _ Valuation method Current value
36. is a depreciation schedule available for any of the property listed in Part 6?

|Z[ No '

m Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last y'ear?

lz[ No ` '

|:] Yes
Office furniture, fixtures, and equipment; and coilectibies
38. Does the debtor own or lease any office furniture, fixtures, equipment, or coilectibies?

|:| No. Go to Part 8.

|z[ Yes. Fill in the information below.

7 General description ' Net book value of Vaiuation method 4 Current value of
` debtor's interest used for current value debtor's interest

(Where available)
39. Office furniture

Office Furniture and Fixtures -
See attached Scheduie AlB 39 $33_,566.98 Book $33,566.98

40. Office fixtures

 

41. Office equipment, including all computer equipment and
communication systems equipment and software

Office Equipment and Computers
See attached Scheduie AlB 41 $43,762.08 Book $43,762.08

 

42. Coi|ectibles EXamp/es: Antiques and figurines; paintings, prints, or other
altwork; books, pictures, or other art objects; china and crystai; stamp, coin,
or baseball card collections; other coilections, memorabilia, or collectibles

 

43. Total of Part 7. '
Add lines 39 through 42. copy the total to line 86. ___M

 

 

44. is a depreciation schedule available for any of the property listed in Part 7?

M No
m Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

M No
|:| Yes

Official Form 206A/B Scheduie A/B: Assets -- Reai and Personal Property page 4

 

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Debtor Newberry Bakers, lnc. - Case number (if known) 17-44189-rfn11

 

Name

Machinery, equipment, andvehicies

46.

47.
48.

49.
50.

51.

521

53.

Does the debtor own or lease any machinery, equipment, or vehicles?

m No. Go to Part 9.
|Z[ Yes. Fill in the information below.

Genera| description Net book value of Va|uation method
include year, make, mode|, and identification numbers debtor's interest used for current value
(i.e., ViN, HlN, or N~number) b ~(Where available)

Automobiies, vans, trucks, motorcycles, trailers, and titled farm vehicles

Watercraft, trailers, motors, and related accessories Examples: Boats
trailers, motors, floating homes, personal watercraft, and fishing vessels

Aircraft and accessories

Other machinery, fixtures, and equipment (exc|uding farm
machinery and equipment)

Machinery and Equipment and Leasehoid
improvements
See attached Scheduie AlB 50

Vaiue derived by taking the book value less the
depreciated value $1,125,025.00 Book

Current value of
debtor's interest

$1,125,025.00

 

Total of Part 8.
Add lines 47 through 50. Copy the total to line 87.

is a depreciation schedule available for any of the property listed in Part 8?
|Z[ No '
m Yes

Has any of the property listed in Part 8 been appraised by a professionai`within the last year?

|z[ No
|:| Yes

Reai property

54.

55.

56.

Does the debtor 'own or lease any real property?

M No. Go to Parth.
n Yes. Fill in the information below.

 

 

$1,125,025.00

 

Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

Description and location of property Nature and extent Net book value of Va|uation method

include street address or other description of debtor's interest debtor's interest used for current
such as Assessor Parce| Number (APN), in property (Where available) value

and type of property (for example,

acreage, factory, Warehou_se, apartment or

office building), if available.

Total of Part 9.

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

is a depreciation schedule available for any of the property listed in Part 9?

57.
M' No
m Yes
Official Form 206A/B Scheduie AlB: Assets -- Reai and Personal Property

Current value of
debtor's interest

 

 

$0.00

 

page 5

 

 

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Debtor Newberry Bakers, |nc. .Case number (if known) 17-44189-rfn11

Name

 

58. Has any of the property listed in Part 9 been’appraised by a professional within the last year?
`M No ' '
m Yes ‘

Part 10: intangibles and intellectual Property

59. Does the debtor have any interests in intangibles 'or intellectual property?
|:| No. Go to Palt11.

|Z[ Yes. Fill in the information below.

General description 4 Net book value of Vaiuation.method Current value of
debtor's interest used for current value debtor's interest

l (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. |nternet domain names and websites

Website, Branding $10,000.00 Book - $10,000.00

 

62. Licenses, franchises, and royalties

 

SQF Level 3 Certif`lcation $300,000.00 Book $300,000.00

63. Customer iists, mailing iists, or other compilations

Customer Lists Unknown $0.00

 

64. Other intangibles, or intellectual property
65. Goodwill ' b
Goodwill ` unknown ' $o.oo

 

 

66. Total of Part.10.

Add lines 60 through 65. copy the total to line 89. $31°’°°°'°°

 

 

 

67. Do your lists or records include personally identifiable information of customers (as defined in 11 UrS.C. §§ 101(41A) and 107)?

m No
|Z| Yes

68. is there an amortization or other similar schedule available for any of the property listed in Part10?

MNo
|:|Yes'

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

|z[ No
|:| Yes

Part 11: Aii other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
include all interests in executory contracts and unexpired leases not previously reported on this form,

l'_"| No. Go to Part12.
M Yes. Fill in the information below.
Current value of
, debtor's interest
71. Notes receivable

Description (include name of obligor)

Official Form 206A/B Scheduie A/B: Assets -- Reai and Personal Property page 6

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Debtor Newberry Bakers, |nc. b Case number (if known) 17-44189-rfn11
Name .

72. Tax refunds and unused net operating losses (NOLs)

Description (for exampie, federal, state, locai)

73. interests in insurance policies or annuities
74. Causes of action against third parties (whether or not a lawsuit has been filed)

The Debtor is presently investigating various potential causes of action which may be property

of the bankruptcy estate. This includes both claims which may be asserted for an affirmative

recovery and claims which may be asserted defensively as offsets or counterclaims Without

limiting the generality of the foregoing, this includes various causes of action against the _

following persons or entities: (a) Howard Anders, (b) Louise H. Rogers, and.(c) Joseph Z.

Orneias. in addition, the Debtor may assert various causes of action pursuant to Chapter 5 of

the Bankruptcy Code. However, Debtor does not believe it is either necessary or appropriate to

list these Chapter 5 causes of action in response to this item. in addition, other or additional

causes of action may be revealed based on the -Debtor's ongoing investigation. 4 Unknown

 

Nature of claim Causes of Action

Amount requested

75. Other contingent and unliquidated claims or causes of action of every nature,
including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples.' Season tickets, country club membership

 

78. Total of Part 11.

Add lines 71 through 77. copy the total to line 90. $°'°°

 

 

 

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
|Z[ No
|:i Yes

Official Form 206A/B Scheduie AlB: Assets -- Reai and Personal Property page 7

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Debtor _ Newberry Bakers, lnc`. Case number (if known) 17-44189-rfn11

Name

in Part 12 copy all of the totals from the earlier parts of the form.

80.

81.

82.
83.
84.

85.

86.
87.

88.

89.

90.

91.

92.

Type of property Current value of Current value of
personal property real property
Cash, cash equivalents, and financial assets. $0.00

Copy line 5, Part 1.

 

 

 

 

 

 

Deposits and prepayments. Copy line 9, Part 2. $0.00

Accounts receivab|e. Copy line 12, Part 3. $0.00

lnvestments. Copy line 17, Part 4. $0.00

inventory. Copy line 23, Part 5. $224,445.80

Farming and fishing-related assets. l $0.00

Copy line 33, Part 6. v

Office furniture, fixtures, and equipment; $77,329.06

and collectibies. Copy/ine'43, Pan‘ 7. t

Machinery, equipment, and vehicles. $1,125,025.00

Copy line 51, Part 8. l

Reai property. Copy line 56, Part 9 ................................................................ _) , $0.00
intangibles and intellectual property. $310,000.00

Copy line 66, Part 10.

A|| other assets. Copy line 78, Part 11. + $0.00

Totai. Add lines 80 through 90`foreach coiumn. 91a. $1,736,799.86 + 91b $0.00

 

 

 

 

 

 

Total of ali property on Scheduie A/B. Lines 91a + 91b = 92 .......................................................................................

Official Form 206A/B Scheduie AlB: Assets -- Reai and Personal Property

 

 

$1,736,799.86

 

page 8

 

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Schedule A/B 19

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» inventory Food Suppiies .
November 15th 2017 .
g Cases Lbs. Total price per lb sub .
EZ Melt Dark Choc. Snaps Van Leer - 69 30 2070 $ 2.300 $ 4,761.00
Guittard 900 Ct‘. Whlte Choc. Chlps 57 25 1425 - $ 1.835 $ 2,616.30
Barry Cl|ebart 20000t. Choc. Dark Chunks _ 36 50 1800 $ 1.985 $ .3,573.00
~ Vinegar 12 gallons . » _ 96 $ 0.320 $ 30.72
Red Red Chefmaster (buckets) l 2 , 50 100 $ 8.152 $ . 815.20
Annatto Sensient Natu_ral Co|or 4 gallons ' 32 $ ` 9.700 $ 310.40
cocoa Powder Bony Royal (begs) ' 2 50 100 $ 2.470 $ 247.00
instant Clear Gel (bags) 3 50 150 . $ 4.100 $ 615.00
Sodium Propinate (bag) , 1 50 50 $ 18.400 $ 920.00
B|ueberry Wonf 2327 (buckets) 8' 40 320 $ 5.250 $ 1,680.00
Dark Raisins 5 30 150 $ 1.500 $ 225.00
Go|den Raisins 1 30 30 $ 1.412 $ 42.36
Pastry Flour (bags) - . 93 50 4650 $ 0.290 $ 1,348.50
Burge Biscuit Flakes v 48 ` 50 2400 $ 0.890 $ 2,136.00
CrOUCLla|’i'C Multi Colored ` 80 26 2080 $ 4.200 $ 8,736.00
lnnova bake Leavening Glabber Girl 93 50 4650 $ 1.580 $ 7,347.00
- Lemon .lulce 20 Gallons ~ l ' ` _ 160 $ 1.300 $ 208.00
Guittard 2000ct Dark Choc Chips . - _ 9l . 25 225 $ 1.680 $ 378.00
salt (bags) - 34 50 1700 $ 0.139 $ 235.30 y
Dried Biueberries ` 4 ‘ 89 25 2225 $ 4.850 $ 10,791.25 `
Pa|m Oil i\/iargarine Ventura ' 4 50 200 $ 0.890 $ 178.00
Dried Cranberries . _ 17 ' _ 25 _ 425 $ 2.800 $ 1,190.00
' Butterscotch Drops 4000ct ' ~ 11 n 50 550 $ 1.610 $ 885.50
Berry Callebal'f CHD-C1-6025901-035 Chunk$ 8 50 400 $ 2.090 1 $ 836.00
Or`ange Flavored Flavldo (27cs * 4 gallons = 108 gallons) ' 864 $ 2.700 $ 2,332,80
AB Maurl Baklng Powder DA (bags) 8 50 ' 400 $ 1.420 $ 568.00
Flavr Bites Cinnamon`5310 (bags) ` 21 50 1050 $4 1.280 $. ‘ 1,344,00
Large Semi Sweet Choc C'l'lunks . ' 3 50 150 $ 1.620 $ ,` 243.00
Roberttet Blueberry Flavor Wonf ' 4 ~ 11 50 550 $ 4.800 $ 2,640.00
Larol oeoolerized . ` a 50 400 - $ _ 0.590 $ 236.00
Nutl<ao lbucl<ers) , _ » 57 30 . 1710 s 1.420 $ 2,428.20
Purnpl<ln (cans) - 19 6 114 $ 0.400 $ 45.60
Rainbow`$prinkles lVlaralerlo - ' 490 25 12250 $ 1.710 ,$ 20,947.50
Peanut DrOpS 4000ct b 41 50 2050 $ 1.600 $ 3,280.00
Cake Flour (bags) v 25 50 1300 $ 0.284 $ 3€9.20
crown sugar ' ' ' 400 $ 0.550 $ 220.00
Créme Cake Base (bags) ~ 50 50 2500 $ 0.550 $ 1,375.00
Nulomoline (p'alls) ` 3 50 150 $ » . 1040 s 155.00
Granulated Sugar (bags) , 7 50 350 $ 0.430 $ 150.50
Guittard Cocoa Powder (bags) v 1 4 50 200 $ 1.690 $ 338.00
Corn Syrup Solids (bag_s) ~ '2 50 , 100 $ 0.640 $ 64.00
Glucose (palls) 3 50 150 $ 0.490 $ 73.50
lVlargarlne Streuse| ' 100 23.5 2350 $ 0.730 $ 1,715.50
Whlte Cake iVllX Plllbury (bags) ' ` 35 '50 1750 $ 1,240 $ 2,170,00
Deris Food Cake i\/lix (bags) 60 3 50 3000 $ 0.950' $ 2,850.00
l\/lolasses ('gal|ons), 3 ' 8 ' 24 $ " 0.600 $ 14.40
Salt Kosher' 2 36 72 $ 0.630 $ 45.36
Citric Acid (Bag) ' . 1 50 ' 50 $ 0.630 $ » 31.50
Sweet Dalry whip (bags) 3 50 150 $' 1.600 $ 240.00
Dextrose (bags) 2 v 50 100 $ 0.820 $ 82.00
EFG Sugar (bags) . .' 13 50 ~ 650 $ 0.430 $ 279.50
Sugartcote (bags)' _ 10 50 v 500 $ ’0.580 $ 290.00
Graham Cracker Crumb (boxes) ` 24 50 1200 $ 0.780 $ , 936.00
White chocolate mousse b , 240 25 6000 $ 3.830 $ 22,980.00
Dark chocolate mousse ' _ . 295 $ 3.430 $ 1,011.85~

 

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900

1,080.00

 

 

 

 

 

 

 

 

 

 

 

 

 

Whitesprlnkles 36 25 $' ' 1.200 $
white sprinkies 2 10 20 $ 1.200 $ 24.00
Redsprlnkles 40 25 1000 s 1.200 $ 1,200.00
red sprinkles 30 10` 300 $1 1.200 $ 560.00
Orange sprink|es` 10 25 250 $ 1.200 $ 300.00
vellow sprinkles 12 25 .300 $ 1.200 $ 360.00 `
OneShot(pails) 17 50 850 $` 1.700 $ 1,445.00
$ 124,332.94

 

 

 

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f Schedule A/B 21

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qINvENToRY f
FINISHED Gool)s

 

Finished Goods is listed at $0.00 because all Finished .~
Goods Were lost in August 2017 When Hurricane Harvey
` ' knocked out the power to the freezers holding the '
Finished Groo'ds.v The values are listed at _What they 'Would'
have been Worth to the Debtor*had they not been lost.
There Was no insurance coverage in place at the time of ` `
' the loss»§

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. Eo~ 2 _ . ,
-@O >~_oezm>z__ 3000 omim_z_n_ m_>_<m >§mm>>m_z Eom<<,x>~moE§oo_§o.Eooooo/o%ooooz_/h>>o_o£>>/coooco=>_/_moon/Seeoo</o>o_ooo§/bown/no,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§o.m$.mw 559 l _
- _ w o . o.o o _ o _ l om_ _
seemed w came m o o 4 o_m m~d . ad wm l 95 m_z>>o§ ooEoo
,ommo cwa umou .
- m o o o.o o o wm
, m o o o.o .o o mm
om.~m~ w guam m o o § ,< s . am ~Q.Nroe ~o.o~\~s m_Em<n__z__>_
om.eom_ m ow.om m o_ o do _. o o v mm itamorrl o_Em=z>>oE mad m_>_<m
. .._<._.O._. ommo cwa ~mou nw%=mw owo:oozc ozn=o>h moz§<ms<:._o< moz§<n ez_zz_omm 520 tea esa . .

>._v_um=$ ._<._.O._. Bu=mo . AA-.. mDOu ._.O.._ , . ZO_._.n__~_umm_D ._<Em._r<_>_ ,

         

mD._u m_>_<m >m.O._.Zm>Z_ >xmmm>>,mz

sw wausau s

__Sisa…

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edo~ -mdmo dooeo>s moooe om:m_zm eoeo§o om=>_ asmaoz <aom<,>x>~modo/o_oo_so.EoEoo/o%modoz_/hsooE>>Eodee§/_.SB/Beooe</o>o_ooos_/uomo/o

 

 

 

 

   

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

~m.s~m.d m do.d~ m o o m.d B. § am dodsom m~md

me.edm m N.m~ m o o m.o mm mm am ~od§m ede

dm.mm m sm.d~ m o o d.o m m wm modes m~md _

mm.-otd m sm.o~ m o o m.o me 4 me em . oode m~md zEa_>_ _:o z_u. §
- m v . . . o o o.o o o wm omm.d . mo_<oeoo z_o_o_>_oo s_n_.
- m o o .o.o o o em mmmd Nem.\..~ mo_<o soo >¢mmm>>§._m _>_m
- m o o o.o .o o em wmm¢d Nome.~ mo_<o§o 5.=z<> s_h_
- m o o o.o o o am »mmd ~om~.~ mv_<oo 3 E>._m>.om¢ sm
- m o o o.o o o am . mmmd Nome.~ mo_<on_:o mb:ooomo sm
- m o o o.o o o mm meachum emmd Eom wzoum >_xmwn._m >><¢ _>_m

oo.o~o.d m oo.om m o o o.o em am mm edth ~mmd Uom mzoom eeo <¢o >><m se

oo.oom_d m oo.om m o o o.o om om mm Nmodo.m ommd Eom mzoom >>§ zz_o § ,

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- m o . o o.o o o mm omml, dodd co omo mzoom m<e=m
- m _ o o o.o o o ed emma mmmd , mzoom §me .m:._m omo_
- m o o o.o o o - emma mood Em~ z<m§< omv_¢m >Em mm:._m mzoom
- m , o , o o.o o . o 3d ode oood . dode m§ooo mm._.Sm _z__>_
- m o o o.o o o mm odd mood bom. mzoom :o<me >><¢ ,
- m , o o o.o o o mm memo mdod bow ;><E m._a_<_>_ mzoom
- m , o o o.o l o o mm emma mdod bow Qs<~= >m¢mmem<¢ mzoom
- m o o o.o o o mm dome sdod bow nmo_<mz: zo_>_<zz_o mzoom
. m o o o.o o o mm amos mdod b om mem §><5 >§mmm:dm mzoom
- m o o o.o o o om. memo ~dod .bom ;><5 mwz$_o - z<¢o mzoom
- m 4 o _ o o.o o o mm doom wood boom ;><5 zo_z<zz_o mzoom
- . m .. o o o.o o o mm odd mood bom ;><E >§mmm_.:m mzoom
- m o o o.o. o o mm eeo mm~d l Bom .omo_<mz: >§mmm:._m mzoom
l m o o o.o o o § emma mdod o_m= m,_-_~_o oo:u\>> o_z::o .oo:o mzoom
- m . o o o.o _ o o § amos mood om¥<m.m§ e=._o.oozo mzoom
- m , , o o o.o , o o ed emma good omv_<m.m§ zo_>_<zz_o mzoom
- m o o o.o o o ~h mead lmood . omv_<m.m§ >Emmm:._m mzoom
l m o o o.o o o . § ~mmo edod ga mdNNEo zz_o omo_ mzoom
- m . o o o.o o o - mmmo ddod ge moz<mo \ z$_o.omo_ mzoom .
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m,<Im<m-mj<az<z r w_mzbm l Dmm

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hdom -mH.mo >\_ou:w>£ mDOOU QmIm_ZE m»mEo~m:u um_ _>_ >._._mn>>vz <mOm/>>X>NmoE/v_oo_uzo.u:muc ou/mrumuumZ_/m§onc~>>/uraomob=>_/~muo._/mumn_aa</w>o_nmm\_n_/m._me/U

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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do.dom.~. m o o oH mm mm wm ommmm . m~oa
- m o o o.o o o ¢m mam,mo m~oa. . . .

ma.m>o`d m m~.o~ m o o w.o aaa de ¢m. ~mo~m z._“c:_>_ ommm >Ld._on_ z.o_>md-u.wm.

mm.do m dasa m o o d.o m m 3 omo~m z_&:s_§z <z<z<m,umm_

R.oow m m¢.oa m o o ¢.o m~ md adm dmo~m z_&:_>_ d=:u zz_u.uwo

od.mom m ,mo.- m o o o.o - an § 3on z_&:s_.uo:u amadeo

¢o.mmm . m d~s~ m o o o.o § § 3 mmon z_&_.:>_ >¢¢mm:dm.uwm

o~.omm m m¢.oa m o o o.o d~ ,a~ 3 §o~o z_"_“_:_>_ mwz<~_o>ammz<mu.umm

d ma__:mv_oozm

- m o o o.o o o co am§
- m . . . _ o o o.o . o o oo §§

oo.§m m oo.od m o o m.o wm wm oo §§

om.$~ m om.~a m o o ~.o ad dd 3 §§

oo.aom m om.d~v m o o ~.o ed ¢d. 3 §§

oo.<~o m oo.- m o o 4 do ~¢ ~¢ co §§

om.~mm m om.- m o o m.o am am 3 oo§
- m , o o o.o o o oo m§

oo.mod`d 4 m o o o.o mm mm 3 mm§

oo.wm~`d. m o o o.a mm mm oo om§a

oo.mdm m o o m.o om om oo §§

oddo m o .o d.o ¢ ¢ oo o§

oo.va> m o. o md .¢m wm am ~m§

oo.~mo`d. m o o m.d ma oh om §§

oo.mm~_d m o o o.d mm mm om m§

om.oo~_~ . m o o o.a § ` § § -oa

o¢.aw~`d m o o o.o mo mo ~.a. o~od.

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- m o o o.o _ o o dam N..adwam mmma z_&:§m._.$ouo:umdm:oo

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- m . o o o.o o o 8 ~wma mo_<un_ou._uv z._>_:§<
- m . . o o o.o o o oo emma mv_<ud_:u._u§z:.¢ms._§:m
, m . o o o.o o o wm ammd m_v_oo¢m_o._<

oo.oom`¢ m oo.om m o o o,~ mm mm mo oo§.. oama mo_.<u.d§u o_E.>EmE<mz

m¢.m$ m mmN~ m o o do mm mm wm mod%m dmmd z_&:_>_ ommm.>&oo zo_>m._ mEE._m
- m . . o o o.o o o dam ood.$m ommd zmu_:_>_ z¢ou .mEEE

oo.amm m oo.- m o o m.o ma ma 3 dd§m mmmd z_nm:_z, z<,§ o.<o m_§.:m

mo.`.w~`a m wm.- m o o d.a. wm wm wm woakdm vmmd , z_u_."_:_.>_ .._b,z <z<.z<m m_¢x.:.m
- m . o o o,o o o § mdma m_z>>o¢mh_>d> om¢\mza_ _o._<
- m . o o o.o o _ o ah mood m_z>>oa_m wmmmru _>Eu\mwo:u:o._<
- m . o o o.o o o ood ade v_un§u mwoo::m_zes_mm
- m o o o.o o o ooa vdod V_E ou ><QI.EE >&<: mm
- w o . 0 o.o o o 3a mama v_u¢:u 15sz mm
- m ,. o o o.o o o 3dv mdma v_uooo ¢m.a.Em»Sz<mo mm
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~aoa -oamo EBS>£ mooow am:m_zm EQESMB u.m_s_ >:B`.>mz <u_om<sx>~moao/v_8_d:o€$=ou/w%mudmz_/m;€=§/romo.§§/_Bo._/Bmooo</w>o_owm§/amm:/_o

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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oo.oww`m m oo.oa m o o mm mma mma em m~aD~m
oN.GN`a w cm.ma m o o N.a mm wm. adm dawan
oo.owm m oo.oa m o o o.o § , 3 3 maam~m
- m o o o.o o o . ow maa§m
.- . m _ . o o o.o _ _o o 8 4 _ aaadam
om<.mm`a m oa.- m o o m.a . mo . ma 3 daadam
om.¢o~ m oa.- m o o ~.o m _ m 3 _ 2an
. odom m odom 4 m o o o.o a . a am ~m§m
adam m oa.d*nl m o o o.o , d a dam ¢om¢o
oo.$~`a m od.am m o 4 o do o¢ 3 3 momom
ovem¢`a m om.om m o o md nw we wm a.am~mw~
mm.odo`~ m o¢.om m o o ~.a , mo wm wm a-¢mm~wh
mm.mom m S..m~ m o o m.o ad . ad 3 a-moa~w>
i.m~¢ m o¢.om m wm o o.o- oT 4 ed dam a.~omm§
- m ~a. o. m.o. am. aa ¢m ¢omm-.
- m md o . o.~. ooa- om. vm Na.om§
- m o o.o o o adm mmomK
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- o o.o o o _ .- amma . , m_z>>omo a_._ru ouoru..x_._a_:o
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, . m o o.o o o wm §§ . §§»Ez:o m_>m,¢u<._.=z<>
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o~.mo m oa.$. m o o o.o a . ~ 4 ah . mmma , mmmv_u_zmmmo.am¢w“_:m
om.mw~ m o~.am m o o d.o o. m § mmma Et.:o.._bz<mmm¢o._mzmm:m
,- m o 4 o o.o . _ wm wm ~_a ommd m_o.ooa_a_ mmo.am~m¢:m.
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o¢.d$`o m oa.om m o o o.m oaa eaa ~.`. woamm.m .. mde , . m_z>>o¢m m_¥oo¢m memo E<a.m
oa.~mo~o m oa.om m o o . .a.m aaa aaa ma mmammm .amma m_z>>o¢m mzo memo m.a<._.m
_ . §
om.oaa`d m oa.am m o . o do . mm mm ¢m
oo.dom m oa.am m o o . m.o ma ma wm
oo.¢am.a .m om.mm m o o . .a.o , mm .mm a~m_

 

 

 

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DQN -m.n-mo >._B.cm.>c_. mDOOU n_mIm_ZE m»mEB.m:u um=>_ >twn_>>mz <mOm/>>X>Nmo_.n_/v_oo_§O.pcm~cou/mcumuumz_/m>>ou:§/Nomo`_um_>_/_muc._/mamDnA</m>o_uwm._£/m._omb/au

oa.¢mm_k m _BB

 

 

 

  

 

  

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

om.mdda m. oo.oa m o o o.a am am om
om.mwa m od.a~ m o o ~.o 4 m m om
od.~.§`a m om.o~ m o 4 o ¢.a. mm mm om
- m _ ,o o o.o o 4o 4 wm
oo.omo.a m oa.ma m o , o o.a . am wm mm
am.mm~`a m wood m o m a.a 3 3 om 44
. §
o¢.aa m o o o.a, oma- wma- mo mmammm
o¢.aa m o o m.m. adm. . ~am. wm ammmmm 4
S.~a m o o d,a- ~o~- aoa. . mm ommmmm
o¢.aa m o o ¢.m- o~m- m~m. mm. mmwomm. . 4
. 4 §
uv=mo m_§%_,,.4…4 .4_o F o.o o o ma dwomaaa _ ofon ¢<o >>>mmu
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_ oa.aoa m w 33 m _o _o ¢.o o 4 m ma dommaaa

 

 

 

 

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§ ma.m.o § o._.zm>z_.maoow ET_m_zm w>><. mazea..m:._<> ¢mn_om >mEm>>mz <mom<sx>~mo_.o/v_oo_§o.EB=B/w%m.udmz_/mso2§EQS§_>>_SB/an&</w>o_522/355

Nm.ooh.wa w _mwo._.

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

om.§~ .m 343 m o o o.o aa - om
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om.$m m o . o ~.a - ah .om
oo.dm> m o o o.a mm 4 mm . 3
oa.~.§ m o o o.o mm mm om
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-. m o o o.o o o moa
-. m o o o.o . o o 4 moa
m~.mo m o _ o o.o m m moa
mm.a¢ m o o o.o m m moa
mo.mma m o o d.o m m moa
. m o o a.o aa ad . em Mo.wd_m:,.§mmm.m_._v_oo¢a__d.<z__m m..E§._m…
oo.mom`d m o 4 o d.a _ om 8 adm _ N.owa. zE:E o:u<amd.a.d<z_a. .E<E.m
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- m o o o.o o . o om
oo.mao`¢ m o o w.~ oaa oa.a oo
, m o o o.o o . o 3
- .m o o m.o ~m. am 8
a~.mom`~ m o o a.~ aaa aaa a.m
aa.o$ m o o o.o ~a 4 aa em
oa.<ma m o o a.o m 4 4 o ¢m
- m o o o.o o o ¢m
am.~ma m o o ~.o ma ma em
om.\.mm m o _ o m.o ma ma ¢m
aw.mdm m o o § a~ a~ . wm
- m 4 o. o o.o o o ¢m
am.maa m mm.om o o a.o 4 o m mm
mm.m¢o.~ m mwom o o, do B B mm
aa.§ha m ,mm¢om o o o.o 4 mm mm _ mm
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>~_C._.Zm>Z_ O>><.m.>ZO._.¢mD._<> ¢mm:m

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oo.mom`mm m
oo.vo~`.n w
mo.w~.¢ w
mm..now m

oa.o$
~d.Rm
oa.¢m.m_m
ow.oma
m~.aam`a
mm.o.¢m

'¢/'b-'U`)~‘V>'V$-V\-W

oc.o¢~`m
hw.wm
om.th`N
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mo.h~h`~
om.N.vN
mh.omw~d

‘V>U)~V}W'U)~W'¢D-

    

 

 

 

 

 

 

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4 awd_¢ 4 mmm.oo~ o mmm`oo~ n_:u wz_v_<m_ m.~x~.mz mem
h._"ow\m.n\m ¢NH.N sworn mh._"- o mh.n- No~ ._.qu.><m._.
Da\¢.a\mo. mwo~a 4 m.:`a m._~._~`.a ~oN ._.um¢.mm._.m<§

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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4 md\_m.\oa\m. ooo`mdd §\m aam.mo o dom`mm o_E m_z>>omm >§mm>>m z..mm<._ m z,<._ .Som
wood wood o wood 4 o<n. 4m_z>>o.¢m ga 4 >ad,:us_ mmmm
mmhm mma.m o mm§m 4 .Uv~ 38 3me >ad.us_ mmmm
~ao~\o~\m amm_~ o amm`~ BEBoB §>B ¢~-ai #~E.._u o§m
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4 m¢m.a 4 oma`¢m o amasm aa£ §er gm mmmdm.d mama
hdoa\oa\m ooo.mm ~mm`d m¢m.ma o 4 ma~m.od di E~=um d :.om.d ma~o
§ 4 4 § o § 33 §§ 4 .uaa.u_>_ mmmm
4 omdm am¢_m¢ o ama\mv >V_u<dov_ >Em§ .z=>_ >mmmm>>mz.dm<d mz.<._ moom
m~¢.~ mata o m~¢`~ 4 o¢<cm : mm_Em<n_ _z__>_ . u~d.:u_>_ ooom

ado~\oa\m ooo.mm aaa 4 oddo o md_a.m ><E .~Sm.&m=om=m 4 Som.dd

 

 

 

 

 

   

4 ad-oa-mo mo m< >a_oazm>z_ ._<_~E<s_ >a_a_m_m>>m_z

   

 

 

 

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MATER|ALINVENTORY BJ'S,COSTCO, FRESH MARKET-AWG~SUPERVALUE-RANDALLS

 

 

6/19/2017

 

 

 

 

 

 

 

 

 

     

  

    

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 
 
 
 
 
 

 

 

 

 

 

 

 

 

 

 
 
 
 

 

 

 

 

 

 

 

 

 

  

 

   

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

lTEM No. . DEschPTloN oN HAND
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"`Zi ‘ § ' 522 $ 320.54
$ 303.00
5932 sHlPPER lv\um use - MARKED 81 s 63,18
69-27 SH|PPER MULT| USE PLA|N - NON MARKED ' D $ -
442 s 185.54
3,040 $ 1,824.00
16 $ 1.28
500 s 240.00
4,756 $ ass.os
97,500 $ 1,950.00
zoa,aoo s 4 4,584.30
10,050 $ 2,012'.00
1,000 $ 520.00
54,500 $ j 270.90
10,000 s 400.00
10,0'00 4 $, 400.00
11,000 s 440.00
10,000 $ 400.00
21,000.0 s 84400
$ 5,335.48
s 1,421.04
4 44 44 44 2545251<!54¢;4¢4444 4 $ 96851
5 sH s BLuEBERRY MUFFIN LA `$ 180.43_
BAsHAs cRANBERRY MuFFlN LABEL $- 283.68
BAsHAs DOUBLE cHoc MuFF\N LABEL $ 257.35
4 4 BASHASBANANAMMW€L, 4 $ mm
j sM_/'\R'_Tf '& 51NAL’§PFST_ACH0';ML)FF1N_4LAB_EL; | s 187.52
9733 4cT cuPcAKE cLAM (L\N DAR) NEWBERRY 5 ea 46,650 s j `5,997.50
5917 4cT cuPcAl<E NEWBERRY sHIPPER 1 ea_ 575 $ 472.50
5305 4cT cuPcAc<E NEWBERRY LABEL suMMER TlME 6 ea 2,000 s 240400
9783 4cT AuTuM 4 FLAv. NEWBERRV cuPcA)<E LABEL 5 ea 2,000 $ 240.00
220 s 143.00
1,400 - $ 303.00
ag,aoo $ 3,492.00
1,500 $ 300.00
550 s 374.00
55,300 $ 254.67 -
4,450 $ 934.50
1,150 $ 782.00

 

 

 

 

 

 

 

 

 

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14295.00
12784.00
12052.00
14668.00
15 688.00
18556.00
0.00

LABEL-ALD| CR|V| CHEESE BROWN|E
LABEL-ALD| FUDGE BROWNlE
LABEL-ALD| PNB BROWN|E
LABEl.-ALD| RED VELVET BROWN¥E
LABEL-ALDI BROOK|E BROWN|E
4 ALD| BRO’OK|E BROWN|E LlD
ALD! BROOK|E BROWN|E SH|PPER

Store Peanut Butter Bro'/State Bros~

CLAMSHELL- SlNGLE SERVE
SiNGLE SERVE SHlPPER
NEW PEANUT BUTTER SlNGLE SERVE
NEW BLACK CUPCAKE S|NGLE SERVE NHDN|GHT FUDGE
NEW HAPPY Y CUPCAKE S|NGLE SERVE
`N EW REDVELVET CUPCAKE SINGLE SERVE
SS RED VELVET BOTTOM
SS RED VELVET TOP
PNB BO`|TOM
SS PNB TOP
SS BLACK OUT BOTTON|
SS BLACK OUT TOP
SS CARROT BO'ITOM
SS CARROT TOP
. HAPPPY B-DAY BOTI'OM
HAPPPY B~DAY TOP

 

PAPER COOK|E 6.25 X 6.25
POLY BAGS 24x24 COOK|E BAG
SHIPPER COOK|E BOX 12x12)(3

4 4‘ L\D"'s`§ji_"z`d chu‘l'\/'l4st""cc`)_As`f/XL"' 4 "
raav$¢;?z§r_j ' 4"COAS4T`A4L*.'~:-.li-

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o~.moo@~ m 333 m S.$¢.¢~ m wm.$..,,_`mm m §BE w Q=EEE _B£
mm.w~m odQO @~.mN 323 @S~\~<S m <m ?_S §§ gm
235 363 oo.m»~ 333 SON\R\H m <m 350 Em § E§EE wm@
m~.@.mm OH.SN m§mm mm.Hm@.m mSN\w\S m <w § ._Q%E §§ w V_$Q groume @~@
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323 333 mm.$m 233 mS~\w\m m ._\w, U=EEE bro£ EO:E§B>> m~m
m@.§§, \ 4 mw.§§ mm.§§ moo~\§~ m ._\m E_EEE Eo$_ %§._ mem
w~.omm - wwomm m~.omm moo~\m\¢ m 4 ._\m §§ w 533 YENE Bm
m~.$~ - m~.$~ mdwa @mm§»~> d <m 4 AES §§ 25 d
oo.w~dm - oo.w~dm oo.w~dm mmm<om\m h <m 4 .&E::E 850 m
oo.mm~`§ - oo.mm~¢§. oo.mm~¢§. mmm<<@ h <m Y=§E w .&B_EE m
B.H\HM\N.H h.n\dm\NH md\.nm\~._u pmou v_oo.m_ mum>._wm mt._ vo_._pw_>_ comp&._ummn >P_wn_o._n_ n umwm< coom.n #._\U
ama :uu< nxm ama ama :uu< _.__ gmc 4

mw\_:~xr_ .w 9_:::.5"_ - o_:um_._um ~mmm< nmxw_

dc_ `m_uoo~_ _Bmmou

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mo.~mdm¢ m ¢m.mow m E.mmm..% m wo.~m§.m< m EQE&=E 8th _B£
355 N§~@ 4 wm.mmw@ oo.~m§ ~SN\m~\@ m <w newmme meES rcme 35
mm.@mo`: gmc E.wa§ wm.@m@j NS~\@.<H m <m 2328 503 EBm>w 293 03
m~.~ow@ 4- m~.~ow»@ 383 QSN\SF. m ._\m 553 §
Qm.Ew`~ 1 om.§w`~ om.§m- moo~\m~\m m ._\m EQEG§E 3$0 25
Q¢.Sdm - 353 O¢.S~_m QS~\HQ~H m .<m wm@_u£ >:_ w m< §§me 2
E.m£`m - so.m.£`m B.m.£`m mmm<m~\m m ._\w EBW>CS§_ES SEEHEB 2
@~.mmw`m - E.mmw`m @~.mmw~m mmm<m§~ m <m EBW>TB_:QES wigmme §
Nm.~mm`~ - ~m.dmm.~ Nm.$m`_~ mmm<om\m ,.4_. .<m E.....U>m$§q&ou §co:m§ 3

S\S\~H D\HM\S B\S\NH 38 v_SM_ 8_>.$ £_._ uo£w_>_ campaign >t$_o:_ Lu$<

Eo.n :uu< axm ama ama :uu< E opmn 4

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&mdd,md>.rm-wwmmv_-mx_>_n_n_.ux:d> ome._m wmm-~¢¢.m§\mmgo <,O EEEEM_ wEoI w m>>ouc:$ ao_w>wa w :P_mwmwx
N~omm\md§>>w~®-owmmo-£mv_m.>ar._._..n_o%_w Hoo-wmo.¢mmn_: mmmmw>-wmd,mm,go no&w._ n=._ nm._ <O
>POD.QOQO¢.Qm>>TmOmwm.>aww> amw¢xn_ omn-~mm.-~.mm~oo <O EEEEA_ wEoI .`. w>>ou£>> mo:m§mm< >Em:.O
HX>NQ\.H cotmamc_ =ma wucm._:wm< >x_m:d
_.n_um~.>>m>>mn_.._.~nm¢-_>_n>uI¢En_~_O omm¢xn mms-~mm.-~.-mmdoo <G E_.:Ew& wEo._._ w m`<.$v£>> ww:ocm._m\<,
Gmn_¢»:w>o_..v_w§_.m-mm~wm->wm._.> ~wcmm.wdx w¢o-m\»¢.wwd-mmdoo <O EEEmk_ wEoI w m>>ouc:$ mw:orwl_m`<,
wm~¢mu_.§»v_:>>n_n_.x§._.mx.¢nm@._. mNNm ._.w.>m>>wu.mw hmomoo.§ mwmuu moo~ corqu l_mpcmu mEw_>_ ax m>>on£>> zonu:vo`_n_
E<$wm._>_m>>m\<,-_.>d`$w ~Swm.mdx wa-mmm-mmd-wmdoo , <U E:_Ew._n_ mEoI w m>>on£>> wuzmcm~cmm_>_

>>H:.E _..n:.,Ow~-m Q<,_>_>>\Om_.§¢.n_v_>\<,._. w\.owm-wa mm¢-~m:mo-mwdoo <C 95 w m>>EQE>> wucmcm~£m_>_ v
.Ow§._.m-~>:dm&>wnw N>omm-m:ux m~m.m~w-mwd-mm§o. <O EEEE¢ won w m>>on.._=$ mmu~:ommm :mE:_._
xEn_I,§mm¢i>mmw-w~.\$u_w-w~.mwm moNN __wn_ Nmm-o~m.h§-mm.hoo mo~N mac co~.§_mc_ =wn_ , w>§umxm
<m<#<:omm>m wo~w@¢ >>x¢dom¢©mu¢ mocmmooomaco:=>mmar m>r:uwxm
<m<u~_<<mm>m_._ » E¥._H-E¢ Nmmomm~mx_>_ . . mr mcr::ouu<
¢w-mmmod,o~w-~> comm Ew >m>>m»mw NNmS o._K mwn:u moon coE_om »Bcwo m%w_>_ n_x m>>Q_E§> muzm._mo._
mmw§c.»r:n_dw-mn_~v=.<m ?W>EOX\$ _>_>>>m_d _>_Hmmmo¢mv_u:zd_~ <,O okl w m`.`.6._2.:>> m_n_m>mm BS<
v <m<#<<ow§~r ¢mNH»E xxuom-xom mwtmm :o=_._>mm mr mEm.mcuSn_
m_mo_>_-m>mxm.>xnm>.-mwmmw-zmv_w_>_ <m<#m<<mmm>>d v_oo:~wx$_ <O E:~Ew\& co==>m¢ mr pw_cornwuux
mxmm §-mw:m~.d¢>>~§.>m_>_$.>¢§m mHmoo-mOz mm¢.om<.m@-m¢ooo coE_um wEoI ax m>>ou£>> E>\_mm

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Qo,m-`~ - 333 333 333 mmm<<: § <m 2._ 3 mew _>>om 03
333 - 333 333 333 33\33 . § <m w 3 - know _>>om 3
353 - 3_.$3 353 353 32\33 3 <m Semi B>w>=ou 33
333 - 333 333 333 3333 § <m rom B>Q>Su 33
333 - 333 353 333 3333 3 <m m __3‘.0>¢>=8 3
333 - 333 333 333 323\@ § <m w nf.a>w>=ou mg
3333 , 333 333 33me mmm<<m 2 <m § Eu.__>_ __ m_>>m §
333 - 333 3333 3333 mmm§\w 3 ._\m umw w 33£ ¢ 32
333 - 333 333 333 33\<,» 3 ._\.u. n_ §S:<.Bx.__z 03
3.3%- - 3.3%- 3.33~ 3.3m.- mmm<<w § ._\w a x&o§<.`§§ 33
3333 , 3333 3333 3333 mmm<<m 3 <w 350 §§ 3
333 - 333 333 3333 mmm<<¢ § <m 303 UEF mm
33de - 3.33§ 33de 33de mmm<§~ § <w We_m§_mewv£_ 3
333 , 333 333 333 3333 5 <m 568 =o 3
343 - 343 33~_ 343 mmm<<m 3 <m 331=5_¢ 3
333 - 3.3m`m 3.¢$.`3 333 . mmm<<m 3 ._\m §§ QEQE< §
333 - 333 333 333 3333 3 <m >_QEY< §§ §qu 3
333 - 353 333 333 ¢3<<3 3 ._\m BSEES§EOQN>N m.\.
333 - 3333 3.®3_® 3333 ¢mm<<m § <m §§ mm
333 - 333_® 3333 333 323\@. 3 <m §§ 3m 3
333 - 333 333 333 33\<» 5 .<m §§ 3333 3
mm.m~w_m - mm.m&`m mm.m&_m mm.m~w`m ¢3<§ § <m mov§ww¢ 3
333 - 333 333 333 §m<<w § <m B_U>B xqu 3
333 . 333 333 333 32\<» 3 <m 3553me 3
3.~3§ - 3.~3.3 3.~3..3 3.~33 ¢3<§~ 3 <m v_o-m§§€< 33 3
333 , 3333 333 333 ¢33§ 3 <m u=:m§f 338 mm
333 - 333 333 333 ¢33§ 3 3 § 31 _§Ewm D.
333_$~ - 3333 3333 3.3§%~ 3333 3 <m § 33 ._w~wm\_u_ mg mm
3.33, - 333 333 333 32\<~ 3 <m _QV_NES$_ 3
3.@%3~ - 3.@%3~ 3.$%3~ 3..~§`3~ 393\3 3 <m 333 §
3333 - 3333 3333 3333 393\@ 3 ._\m 33 amax 3m md
333 - 333 333 333 mmm<<w 3 <m EQE&:H _BEQ_§>_ 3
3.~3`33 - 3.~3_33 3.~3`33 3.~3de mmm<<~ § <m v_o.EQEe:_$ cornbm£§ mm
3333 - 3333 3333 3333 .33\<3 § <m =2%_3<~¢~$& wm
E\HM\S D\R\~H em ama B\Hm\~.h md\~m\~d 38 V_Sm BE$ §§ uo£w_>_ =or&b$n >t¢%& w -m< <u
ama :uu< ama :uu< .=_ma :8< ____ mann _

~cmE&:vm .w >._ocfum_>_ - w_:omr_um »wmw< uwxE
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§.mm§_m

`_Sbw:ou H:o mw~

 

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- §.m@.~`m S.mm~`m S.mm-m ~QQ~\~§\m § <w
mm.$§`§. - wm.%§`§ wm.$§`§ wm.G§`§ So~\m§\m § <m 5&§>> _B=o~:o_._ §§
§§de - @w.§wwm @w.§wdm ww.§mdm ~QQ~\m\m m ._\.ul § §_wm aim RN
w§.momd§ l w§.momd§ w§.momd§ m§.mom_o§ ~S~\Q¢ § <m homeES § 553 E~
. m~.qu§ - m~.m@o`§ w§.$o_§ m~.$o_§ §S~\¢§\m § <m ._§mm§§son_ m§
S.SQ¢§ - QQSQ¢§ QQQS@§ S.SQ¢<§ §S§\Qm § <m on Emm§m cB_=H_ §§
oodood§ - QQ.QQQ_Q§ , S.Sod§ S_.Sod§ §S~\w\m § ._\m w:._x=>_ ._mw com mN~
S.Sqm - S.SQm 383 Oo.ooo`m §Qo~\m§\m § <m. §§ Em$m E§w o-
oo.cwm€ - 86me 333 333 SQ~\Q~\O§ § <m _: w BE>EME §§
Q§..mwm~m - Q¢.Um`m Q¢.m@m`m Q¢.mwm`m ooo~\m§\~ § ._\m 5»9_¢§ >Qmoo ~§~
m§.m~§§ - m§.m~os , m§.m~§§ m§.m~§§ SQ~\Q§\§ § <w § m>w shown §§N
S.Gm€~ , S.Sm¢_- QQ.S,§.,@N S.Sm`¢~ QSN\¢§\§ § <m §§ 335 O§~
S.SQ~§§ - S.SQ§§ QQ.SQ~§ QQ.SQNM§ QS~\§\§ § <m am QE=B§.§E S~
QQ.S¢`E§ , QQQSJ@§ 8.8§@§ QQ.O$`E§ Bm§\§\~ § <m 5%0%@ §_YQQ mm§
»§.Qw§`$ - §.Ow§@¢ §.Qw§`$ ~§.Qw§~£ Bm§\§\w § <m memv,>m YB_>_ §§
S.Smsm - S.QQQR S.SQD. S.Smsm Rm§\§\w § <m L§mo%n_ mmEou §m§
mw.§§dw - m@.§§§ m@.§§§ m@.§§dw Em§\§\m § <m \ V_mm-=w>o _QE§F mm§
3.3§- - S.S§`N Qo.oo§`~ S.S§`~ mmm§\om\@§ § ._\m tm@_>¢ §§
S.mk`m~ - S.mR_wN S.mE`w~ S.Rdm~ mmm§\m§\@§ § <m w §§ §me §§
@m.¢m~ - @m.§~ @m.¢m~. @m.§\m~ mmm§\-\w . § <m m_Sm §£< §§
S.Sm~w§ , S.SQE§ . oo.oom`w~§ Qo.oom`w§ mmm§\m§\w § <m §_u£m tm§>¢ mm§
Q.§.£ - §.§E -.§E §.§E mmm§\§§ § <m w_Sm an_< E§
~E§@.§ - ~E§.Q§ §.§,m`§ NE§Q§ wmm§\c~\@ § <m w§> §Em: tme_>~_ w@§
m~.%~,dm~ - Qdmw§m~ E.S§m~ E.S§m~ @mm§\m§\m § <w __m:m ma tmmv_>~_ m@§
o~.~m~ - QN.~m~ Q~.Nm~ o~.~m~ Qmm§\§~\m ,§. ._\m >=on w_>§m =:__ mw§
Nw.mw¢`m - S.Y\m S.mw¢~m ,~w.mw§\m mmm§\m§\m § <m Ewm>mb=§om§m>> §§
~m.~ww_<~ - ~m.~ww.¢~ R.~ww.¢~ S.~mw`¢~ wmm§\m§\m h <m 555 §@§
m§.£¢.o§ - @§.@w§§ m§.mw§§ m§.wm§§ @mm§\m§\m § <.u. w§ o=m=a_u_ §m§
S.mmm`@§ - S.mmm@§ Qo.mmm`w§ S.mmm@§ @mm§\m§\m ~. ._\m SUBE.._ _Bw_>_ Qm§
S.w§w~m~ , S.MW~QMN Qo.w~m`m~ Qo.w~m`m~ mmm§\§\§ m <m §§ §_v:£ mm§
S.m§@ - S.m§`@ S.m§@ Qo.m§@ mmm§\§\§§ § <m aged __m w 955 §§
S.§Q~ - SN§Q~ QQ~§Q~ Qo.~§@`~ mmm§\§\§§ § <m QEB,CB§S mm§
S.Q§§`~ - 8.@§§`~ S.o§§`~ S..Q§§`~ m¢.m§\§\§§ § <m 2._ § §§ _zam §§
S.~w§ -, S.~w§ oo.~w§ oo.~m§ mmm§\§\§_§ § <m Em Ew=§m=_ §m§
§\§Q§ ~§\§m.\§ §§ ama @§\§Q§ m§\§m\§ wm3 §§ §Emm §._ uo££>_ =QE_EMR_ >tmao& . n §§ ._\w
ama _..8< ama :uu< ama :uu< :_ gmc

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8.@83 - 883 883 8.083 803§3 h 3 §§ =m>o 8 _Bm_>_ §u_m>> 38
838 - 838 838 8.mR 88\§\@ d 3 588 93 mmm
883 t 883 883 883 88\§3 d 3 §o_>t%_£ mmm
388 - 388 388 388 .8883 § 3 533 8=08££ 3m
m§.mm~ - m§.mm~ m§.mm» m§.mm~ m8~\~3 § .3 >o 333 .t£ mmm
888 - 888 888 8.8~ 88\3 w 3 3>_83 S>o ~mm
88§`§ - 8.8§`§ 88§`§ 88§`§ m833 h 3 E §§ S>o §m
8.83_3 - 883 883 8.8m`w m8~\83 § 3 me mm Xw_%t< .< m~m
883 - 88§_~ 883 8.@§`~ m8~\§3 § 3 \ 83 U\< v_»o> ~8
D~.o¢\»€ .\.w.w§§ ow.._ummr_§ mH.mom..§ coduth moo~\._~\m m._§ ._\m 580 mmcmcu l_w~wwi >>wz §Nm
883 - 883 883 8883 803\¢ § 3 §m>>§ HE§ n=._,m m§m
883 - 883 83.\.3 883 88\3 § 3 mma § ceam>=ou S>o <§m
885 - 888 885 888 88\§~ s 3 §§ cadc m§m
mw.mm¢`m§ , mw.mm§\m§ 838`§ mw.mm.\m§ 803\¢ § 3 5821 smz¢_§> _SEuwm §m
8.8Q§Q - 888~§@ @388 888.§@ 833 § 3 3 1321 >>wz §§m
8.83~ - 8.83~ 8.8.3~ 8.83~ m,8~\§>,~ § 3 §§ §§ ._¢-:58 Q§m
883 - 883 883 883 88\§\¢ § 3 §QBTQ_NEQ_U§ mem
8.83§ - 8.83§ mm.mom`$§ 8.83§ 88\§3 § 3 8229_§8§ §8
mm.QB`§, - mm.§§.§ mm.QB`§ mm.QB.§ 883~3 § 3 V_:_m 8m
m~.om§`m~ - m~.om§`m~ mgm§`m~ m~.om§.m~ m8~\§~\~ § 3 z.e_§_ 823 8~
B§§`~ - B§§`~ wm§§`~ B§§`~ 883~\~ § 43 §§ § 33 825 8.~
8.8.§`§ 1 ~m.mm§~§ 8.8§~§ ~.m.mm§`§ 2833 w 3 §_m_>_ _BB 8~
mm.mmm - mm.mmm mm.mmm 338 88\§§\~ m 3 um,_msw£xw vi 8~
8.~8`§ - 8.~8§ . 8.~8§ 8.~8§ 883§\§ § 3 §G-wn§._%§ 8~
383 - 88.%§ 883 883 88\8\§ § 3 §§.O§.G 88
883 - . 883 83§3 883 88\3 h 3 todd §§ 83 ww~
833 l 8.8¢_§ 833 Qm.¢m¢`§ 88\.§\0§ § 3 ze_n_ Y:EQ"_ 8~
883 - 883 883 883 88\3 m 3 ,wmz$_\w§§o_==@ 8~
8.8¢`§§ - 8.8¢`§§ 8.81\§§ 8.8¢`§§ ~8~\.3 § 3 _§m B=<§e_mem_ mw~
m§.$w`§ - m§.o$.§ m§.§§`§ m§.@§_§ 8@3§3 § 3 583 §P_Em§s §§
:883 - .d~.omm`m 883 8.083 , 88\3 § 3 imach =ome.E=_>_ mw~
883 - 883 883 8,08.,~ ~8~>3 d 3 m 583 825 8~
8383 - 883 883 8883 88\§3 § 3 §§ng ms£mw._m §§
883 - 883 883 883 88\§§ h 3 >_QEQ$< 880 mmw> _.¢ 8~
§\§Q§ §\§Q§ am ama Q§\§Q§ m§\§m\§ 58 88 833 .&: _3£2>_ =2§.03§_ >:¢%a Emm< 3
aaa :uu< amc :uu< ._awn_ :u...<

~cwE&:cm d >._chum_>_ - w_:__uw:um pmmm< uwxw_
dc_ `mtoo"_ _m~mmou

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_8.83§ - 8.8QE 8.88§§ 8.83§ _ 80§\3 § 3 §SEQSE m§¢
§m.mmm~m - 883 §383 §m.mmm~m 883§3 § 3 §8&2:8 §§¢ .
8883 - 8883 883 883 88\§3 §. 3 §8858 §§¢
883 - 8.@8.@ 883 883 803§\¢ § 3 §885_8 08
883 - 8.083 883 8.08¢§ 80§3§\¢ § 3 EQE§B 88
Q§.m§§€ - Q~.m§§_¢ Q§.m§§€ 88§§_¢ 80§\§§\§§ m 3 880 §\§-§ m§¢
8.8§`_§ - 883 883 883 ¢8§>~§8§ § 3 §§ 888 ES~:Q: m§¢
8§8`8 - 8.§88 8.838 8.§8`8 88\§3§ § 3 uow$a&ou § §§¢
8888 l 8888 888`8 888.8 ¢8§\83 m 3 8§88¢ 8¢
883 - 883 8.8.`..§ 883 80§\..3 m 83 288 B§Q_>_ §§8:»8 8§~
888 - . 888 888 888 ¢8§3§\¢ m 3 §§Emum_§_§ nmu\§_§>>m EBQM\_Q~$:_ 88
838 - 838 838 838 ¢8§8§>§ m 3 >z§w$< =28.§5 8888 888 §8
838 , 838 838 838 §8§3§>~ § 3 888 88%8 §8#_-5>0>=.8 §8
883 - 883 883 8.08§ ¢8§\§§\¢ m 3 382 w§é§.§=_ 88
8.83§ - 8.83§ 8.8@`¢§ 8.8@_§§ ¢8§\§»3 § 3 . 5588 888 § 8
838~§ - 883 888~§ 8.m8.§ 883§3 §§ 3 85888 w 858¢ mEoEE< 88
8.8§~§ - 8.8§`§ 8.8§.§ 8.8§.§ 80§33 _ § .3 Bmcm§m_ 81 8>_8_8< m8
8.§83 - 883 883 883 883§\§ m 3 88 98 388 _,mx__@§ §8
8.§8`§ - 8.§8`§ 8.§8`§ 8.§8`§ 883\§ §§ 3 380§_>_ 88
8.8@`§ - 8.08`§ 888`§ 8.08`§ 88\§§\§§ §§ 3 B>w>c8 §§ B _8< Rm
883 - 883 883 883 88§3§\§§ m .3 888 §§ _.§§ §8
888 - 888 848 888 883§\§§ m 3 >_@_Ewmm< v_§ 88
8.§8 - 8.§8 8.§8 8.§8 m8§\§§\§§ m 3 888€§_&8§8§8 §8
883 - 883 883 883 88>3 § 3 858 835 888 §.8
8883 - 8.8m`m 883 8.8§3 m8§\§3 §§ 3 a-w=:.mcrww£w.mmm
888 - 838 888 883 88§\§§3 §§ .3 8.._ 88»3 88
m§.§m§`m - _m§.§m§`m m§.§m§~m m§.§m§`m 883§3 § . 3 §§ 83 _QEQE §8
§¢.8§`§ , §¢.3§~§ §¢.8§`§_ §¢.8§~§ 80§\3 §§ 3 88 w 83 u\< 88
8.§8.8 - 8.§8`8 8.§8`8 _ 8.§88 883§\§ §§ 3 S>w>=8 §_8=2 98
mm.m§.§`§§ - 8.8§`§§ mm.m§§`§§ mm.m§§~§§ 80§3§\§ §§ 3. 888 >>Qz § 938 83
388 - 388 .§.w§w 388 883\§ .\. 3 §_8 8 838 88
888 - . 888 §w.§$ 888 883\§ m§ 3 888 >>wz § 855 88
888 - 8.8¢ 888 888 80§\§\§ m§ 3 888 828 855 §8
8.8§.¢§ - 8.8§@§ 8.8§.¢§ 8.8§_¢§ m8§\§\§ §§ 3 88 828 §§.m
§§\§m\§§ .`.§\§m\§§ ea ama w§\§m\§§ m§\§m\§§ 58 v68 838 £: 8£2>_ =25:88 >tm.§»_ n §wm< 3.
._§_on :8< ama :8< ama _._uu< . :_ w§mn

§cwc.:::vm .w >._chum_>_ ., w_:_um§_um §wmm< cwxE

.uc_ ~muoo"_ _m§mmou

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m~.wmm`m

N._H om\w\m

 

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00.000_00 2003 00.3100 3.03`0~ 00.000`00 30~\-\0 3 <m 9_00000 0 0 0 0 0000,0§ c0>0 302 03
00,000`0 00.00~ 00.00§ 00.000`0 00.000_0 30~>.\0 0 <0 60000 3000 >>0_& 0000000 0_0 ~Q.
00.000_0 - 0_0.000`0 00.00~_0 00.000`0 30~\3\0 0 ._\.0l A000_a.00=0 v__>§ 00 00 00000 300
00.0-`3 - 00.0-_3 ~0.000`3 00.0.-`3 30~\3\3 0 <0 :>__<\=00000000 000 000_000 0 00_00¢ 000
Nm.w~m@ , 00.0~0`0 0~.000`0 ~m.w~m.m_ 30~\00\0 m <0. @EB§T£E_§V 00000000 050_ 000
~0.33`03 3.0§`3 00.300~00 00.300`~0 00.30§3 30~\3\3 3 <m 0000<¢0000¢ 00=00 - 0§._ 3000 3000 000
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3500 0~.000 00.300_0 ~0.0:\~ 00.00~`0 30~\3\3 0 <m :0~000§ 000>0: §0:00_ 302 000
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¢~.M§\~ 263 wo.~mo`~ $.¢mmq ¢~.ww¢.~ ~SN\E\~H m ,_\m 95 __.§m ma a&f>> __BES 2332 m3
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333 ¢m.@mmq S.m§@ mm.$dm mo.@wm`w ~S~\w~\S m <m 2_2._§_§_ §§ Ewt~m E_.V=£ 32%~_ ~E
333 m@.D.§ mo.mm§ mm.~om~< S.Omm.~ ~S~\HN\S m <m mume §§ § ._mww _>>om 32@_3§8$_ 3m
m@.m»m §§ m,\..@om E.Hm~ m@.m~m ~S~\QQS m <m e§§$ ag 3me B 95 §§ 23$_ 3m
533 S.Y~ wm.:-q 325 533 ~S~BQE m <m :§_ mma _w§oewn_ §§ § m_o.€§ mem
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333 353 E.SN@ E.mm§ m@§m.~ ~S~>»\m m <m 28__§ 2255 5 3§§2~_>_ mem
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333 Q§m m¢.~€. w~.@m§ mw.owoq ~S~\S\m m <m E<.ES h._&$_ §E€S §§ w x=>_ 3m
-.m.$q 262 ~H.Qmm§ 333 -.$3 ~S~\Qm m ._\m E<.§S 23$_ §WEES ~Ew_oou m3
Hw.m¢m- 363 B.mmd~ mdmwd~ S.m¢m.~ ~SN\QQM m ._\m E<.E._S EWEBQ_SM mnhom$ieou wm¢
353 3me m~.m~o`¢ ~w.¢mdm 353 NS~\QN\N m § _ Amwu_zww >Yw=mv 23$_ S>o 20 23
383 S.E QQ.Q.S.~ 833 833 ~S~\<Q~ . m <m 655 UEEEEMP_¢ cw>o §z @Q
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m~.¢mqm wime w~.m$_m mm.@m~.¢ mEaQ@ ~B~\m> m <m ?m<mv EBm>m NEQEE<.§%¢ 955 §§
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333 QO.QE Qm.~mm`d 333 S.Qmm_m EQ~\m\m m <m` A>_D_Ewm< §§ 332 wczum_>_ >>~_ ,mwm
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333 mm.@wm mm.m~dm Q¢.wmd~ w~.¢mm_< 3333 m ._\m EE>E»§ m w a 65 >V_Qw_$_ >>wz wmm
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333 3me om.mwhm Om.mo@`~ 335 33\.§\@. m <m 333 §§Bm§ _§E§ EUE=.E mmm
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QQ§.`.~H S.S¢ S,.owma S.mmm S.QE`¢ mdo~\om\w 3 .$. 035§ wm 20 §§ EBBm 3m
335 O<.mom oo.w$§ 853 oo.¢mqm 3333 3 <w mem wmm>mmv swim 550qu _BES 3m
ww.~mm§ _l#.m§ m._~.§m`m mm.§`~ m~.~m§ 33\-\» m <m §>BA E_V_BU_ ¢VE_>U rim §§Sw¢ 3m
333 mm.@¢~ m~.m~w . om.~wm Qm.m$`~ 33\®\» 3 <m c€_NE%m£ 5=9_$95 8 wang 3m
333 S.~$. 333 Qm.m~w S.o~¢`m 33\»% _ 3 <m =B 3 §§835&8 =B m BN_@§ @m
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ow.§`m 3.3.~`3 O¢.$m¢q S.Sdm QQ.~Q~`@ 33\.3\@ . m <m 525 dth § wg>§m£ 3m
oo.§\w 833 S.§_m oo.wom`¢ 333 mS~\-\m m <m . w=EumE mg§u\m=§§b §3¢ mmm
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.,#.Q%`m 3.3w mm.Ew`~ m~.OmQN 8.3~`® 33\~§ 3 <.v. mu>f¢>>£ EE §§ V_§>§ 8§%¢ mmm

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E.~w~ @w.§m muqu 362 OQ.QE`~. mS~§\@ h ._\m c§_>_ 3sz .&s> UE$_N §§m_z m$
363 m§£ $.Q~ §§ 333 mS~\m\@ w <m Ew>o 5 $=Bm SN_%E >=SES QE §
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B.@w@ S.om~ 563 563 833 mS~\Qm>~ . d .<m 333 amc § §_&:m EE=B$~_ <<< 03
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. 335 E.mm~ 2.@% 363 S.SQ~ mSN\.§\¢ h .<w ?w>Q 5 855 munime >EBEB wE B@
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mm.mmm`m £.HD.A wd.~mm`~ 3de m~.mmm§ mBN\mN\m w <m c§_>_ 3sz §§ uEUw_m_ _n§ms_ mem
S.Qm§. 863 36de S.Qmm 333 mS~\m~\H n <m c¥=>_ §§ §§ _mmw>oa&m gm
OQSQm 383 333 383 36on mS~\m<H m <m. EUE§E _8£ BMQ> §
§.m@m~m ,mm.m~§ mm.wm\~ 323 @m.m~m`m EQ~B~\B m <m §§ 3§$@?9_£ w §§ B£_Sxm_ ~8
533 238 B.w$ R.:- 8.$.3 ¢S~\¢~\S m <w _>_ wmm § §§ YEQ>>V Eo_>_ w m=.a_w>> 3m
wm.@@m`~ E.Q~m 395 w\..@mm 333 EQN\H\S m ._\w cwx§_-mt£ haame :S §hm_>_e>_ 03
333 353 833 3de S.Sqm §§m~\m m <m E=v:£ B§ A_QEENEHE_ p_B§m mmm
3.-¢ 355 R.~m~ R.NB. 395 E.QN\~QG m ._\mn_ 5>0 gm 3285 EE:B$¢ tm_>_ 3< mmm
353 3on om.Rm_H om.Bw S.Omw_~ ¢SN\Q~\.MW m <m ?m>o.mcmn_ L§$; umw m§_£ 3m
333 Hm.@§ mm.mom§ w~.BQH 333 v EQ~\mH\w m <m co>w>§u-sw._oa 2535 203 32 3m
QN.~E_H O¢.Qmm 333 Q¢,Hm~ S.~mw`~ EQ~B\MW m <m 65 __Bm ma :3$; SE§OI 3551 mmm
Nm.m$`m 333 Q.@.G€ §..~§`~ mmdm@`m ¢S~\-h m <m _B¢E m£mm%§ mcm@_u£ SEE< 2_>_ gm
B.Q§.m 353 w~.$.¢`~ 333 mm.§m`¢ ¢S~\Qm\w m <m x @c._%m_>_ §§ §§ w §%¢ cm%§w m3
383 863 333 303 S.So.~ EQ~\§B m <m . russo § §§ EBW§ 203 B£ ~mm
E.Ro`m 3me E.mmd~ 553 w¢.mmme Ec~\m~\@ m <m co>\w>cou,§§ 555 m§_wm &Em m o gm
335 S.wm¢ Qm.£~q Qm.dR oo.mm¢`~ SQ~\£B m <m co>w>§u.£mt§ BN_%E m_oo;o£ Qmm
§.mmo`m §.mmm . Ow.mo~_~ E,.m~mq owis . §Q~\m\m m <m 353 §§ 3sz BE.W=€_ _=Em_._ .me
S.m$d~ eo.mmm`m S.O~Q§ S.m~m`m QQOQOm _ SQN\-\¢ 2 <m GEEQ_>_ mc§_@ __w:w_>_ §§ wwm
$.mmdm H~.§§ m~.HmH~ 385 333 §Q~\-\¢ m § GSE>V .aa$_ §£>> E& mm
Qm.$d.~ o~.~m~ Om.RQ~ 333 S.mw@~m ¢How\w~\m m <w 3 ;YOQ § w§m@m LU__S“_V wczum_>_ >>¢ mwm

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352 w~.~w 356 £0~\-\5 m <m <c § mar w §§ ucc §§ mm
O5.mmm 363 Qm.m%q 30~%\5 m ,_\m wm:o£$m>>\$£o BE.Q&S § §§ ~B
5~.@$\~ ~w.B§ mm.$m`~d BQ~\m\m m ._\m §§ 8§§_$_ HB
395 .S,Nmm mm.dm§. QSN\EE m <w mciva §§ s q§a § SN_%¢ 05@
~m.wmm S.m~m ~@.de~ QSN\£\@ m ._\m 285 33 2 E§_$_ m3
m~.¢@w@ mw.~¢~q mN..Rm.m @S~\->~ m <m _ S>o amc § $=Bm m3
S.Sm`m 53@.§ 8.02.5m @S~>..<m 5 ._\m 550an E£E w_nm.< §§ xom 53
mm.mmw 335 333 @SN\~N\~ m <m 0 §_me%§ §Lm__o:=ou\€_w.m\§:_u m3
303 O¢.wmm ov.@mm~m _ @S~\m\~ m <w, §§ ame m3
S.S~ mmme 333 QSN\Q> m ._\m , a_$f£ 4 UEEB:< E_v_§_#. §
Qm.¢mm`m 5@.&@5 om.§§`mm SQN\QN>. 5 ._\m >%m%u oo@.m~ § § E~$E EMES m3
363 3me am.mmq~ QSN\m\m m ._\m 35 SE=_SE § §me ~3
5me 2.35`~ 5Q.m$d~ 30~\2\¢ m <m BEEL£ roban 323 3m
5@.5:§ 333 m5.m~5§ £Q~\¢\m 5 .~\m mwv._:w §§ 23 §§ §§ §§ m§§ §
3me 8.¢5~ . S.Q~m`~ £o~>m\m 5 <m, zmu=w_>; >_pewmm<§§m §
3653 5353 Q_N.Qmw`m¢ QSN\QB 5 <m . 5 268 mt §§§5@
m5.¢m5 mm.m$ E.Em @H.mm_m_~ 20~\5\,». 5 <m § maxim Bm,am@§o_>_¢%§>u §§ wmm
535 5~.wmm 5~.mmm 333 mS~\om\E 5 .._\m EE§ m§_ BTBQ_>_ w §§ dw£m._w w§
E.mmm`~ w5.553 3553 m¢.$~`w mS~\Qm\S 5 § co>w>:ou.m:mn_ §35 m§_wm &Em m n 53
255 §.5mm E.,\.mm oo.oom`~ mHQN\Y\Q 5 ._\m 505 ._£ §§ 05 >_&:m EE=B$¢ <<< 25
5@.@@3 335 mm.~m@. S.YN 333 mS~\m\w 5 ._\m cwv_memu§ umwa >§_mm_ _mwm>o_n_&m m3
mm.§\m 5H.5m5- 5H.5m5`~ . B.Q@H`B mS~\w~\~H 5 <m §§ SIBES § WEES .uc_ §§w_>_ 36
55me om.~mw Om.~mm 353 30~\5\§ 5 .<m €m>o gmc =._ 2255 >ESES QE m3
mueme S.@G ¢~.N@¢ @m.mm 333 mSN\¢\NH . 5 <m 232 n on_ -%B wm@
¢35§ 3.0@ ww.o§ -.3~ mm.§§ mS~\Q~\S 5 <m BE$_ §§ zsz mm._v.m:_§ _=Em_._ 53
Qm.~wq~ Om.~mw 3ng 353 Qm.d-@ EQN\@<S 5 <m ?w>o 5 ww§m SM_%S >:SE.S QE mmw
wo.¢~m Qw.¢- m¢.mm~ 525 3553 mB~\m\S 5 <m >_&:m E§ER ¢mm
~m.wmo@ wo.m§ $.mmm wmqu mm.m§`m. mS~\m\S 5 <m _>E_ w>zm>o§_ mmw
wo.§~_d Nm.@mm m5.mm5 §me ¢N.~mm`m mSN\~\S 5 <m _@B¢. m Q_QE ~mw
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5§$ 55.~mm Q5.m~m ~m.QmH 3.@5- mS~\-\m 5. <m w§_wm_ aim m o 03
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QQ.SO_@ - 00.80\@ OQ.QS@ 33\3\3 3 ._\m NB< §63_ 525 33
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Newberry Speciaity Bakers, lnc.

CAPEX Listing
Growth:_
2016 Nitrogen Tank 47,728.02
2016 NeW Packaging Room ' 155,136.66
2016 Upright Freezer 42 196 25,000 capacity 38,741.50
2016 Choctech 600 146,881.99
2016 Unifi||er v , ~ 48,856.40
2015 S|icing |Viachine _ 55,950.00
2014 Dishwasher 41,306.77
2014 Assemb|y 18# Sheeter W/|V|obiie Stand 49,277.92
2012 Warehouse Bui|douts 39,607.32
2012 Washdown Area 50,509.58
2011 NeW Oven 177,701.30
Maintenance:

2016 Upgrade to Waste Water System 14,559.51
2016 Water Lines in Sanitation/Washing Area v #REF!
2015 Drains for sanitation room 19,160.16
2013 Repair/rep|ace components of ammonia system 40,345.03
2013 Repair/rep|ace components of ammonia system 214,285.00
2013 Repairs to ammnoia system 32,182.00 y
2012 E|ectricai Upgrades 30,568.84
2012 E|ectrical Work & Lighting 82,826.75
2011 A/C System ' . 52,341.04

» 2011 New Cei|ing 48,187.00
2011 Electrical Work & Lighting 1 32,551.8`6

2004 Freezer Door » 78,000.00

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Fill in this information to identify the case and this filing:

Debtor Name Newberry Bakers, lnc.

United States Bankruptcy Court for the: NORTHERN DlSTRlCT OF TEXAS

 

Case number 17-44189-rfn11
(if known)

Official Form 202
Declaration Under Pena|ty of Perjury for Non-lndividual Debtors ` _-12/15

 

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and |iabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individua|'s position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNlNG -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Dec|aration and signature

| am the president another off cer or an authorized agent of t_he corporation; a member or an authorized agent of the partnership;
or another individual serving as a representative of the debtor` in this case

l have examined the information in the documents checked below and l have a reasonable belief that the information is true and
correct

-Schedu/e A/B.' Assets--Real and Personal Property (Official Form 206A/B)
Schedule D.' Creditors Who Have Claims Secured by Property (Officia| Form 206D)
Schedule E/F.' Creditors Who Have Unsecured Claims (Officia| Form 206E/F)`
Schedule G: Executo/y Contracts and Unexpired Leases (Officia| Form ZOBGj
Schedule H.' Codebtors (Officia| Form 206H)
A Summary of Assets and Liabi/ities for Non~/ndividua/s (Officia| Form 206-Summary)

Amended Schedule AlB

 

[:|El|:||:i|]|:i|:||'_'|

Chapter 11 or Chapter 9 Cases`: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
(Officia| Form 204)

I:| Other document that requires a declaration

 

  

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 592 W' !“ film/g X M % /A,._l

iviivi / DD /YYYY signature of individual ‘s’ign'trTg oif’t§.~h§if of debtor

William A. Evans
Printed name

Chief Executive Officer
Position or relationship to debtor

 

 

Official Form 3202 Declaration Under Pena|ty of Perjury for Non-lndividua| Debtors

